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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PERRIS J. LEE,                                     Case No. 18-cv-03689-HSG
                                   8                    Plaintiff,                          ORDER LIFTING STAY
                                   9             v.

                                  10     E. KNOX, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff filed this pro se civil rights action pursuant to 42 U.S.C. § 1983. On June 4, 2021,

                                  14   the Court granted the parties’ joint request for referral to the Pro Se Prisoner Mediation Program,

                                  15   stayed this case, and referred this action to Magistrate Judge Illman, Dkt. No. 52. After Judge

                                  16   Illman reported that settlement talks had been unsuccessful, the Court set a briefing schedule. Dkt.

                                  17   No. 55. In light of the above, the Court LIFTS the stay.

                                  18          IT IS SO ORDERED.

                                  19   Dated: 11/10/2021

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                                                                                       HAYWOOD S. GILLIAM, JR.
                                  21                                                   United States District Judge
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